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                                                                    January 15, 2025


Via ECF

Hon. Leslie G. Foschio
United States Magistrate Judge
2 Niagara Square
Buffalo, New York 14202
Telephone: (716) 551-1850
Fax: (716) 551-1855

Dear Judge Foschio:

                    Re:       Nolan v. Western Regional Off-Track Betting Corp. et al,
                              Case 1:21-cv-00922-WMS-LGF

                On December 12, 2024, the Court instructed the parties to provide it, either jointly
or separately, with a proposed case management order not later than January 16, 2025. See Doc.
45. All parties have conferred and jointly submit the attached proposed case management order
for the Court’s consideration.

                                                                    Respectfully submitted,



                                                                    Aaron M. Saykin

Enclosure

cc: All counsel via ECF




             The Guaranty Building, 140 Pearl Street, Suite 100 | Buffalo, New York 14202-4040 | 716.856.4000 | HodgsonRuss.com

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


MICHAEL NOLAN,

                                       Plaintiff,

        v.                                                        Case No. 1:21-cv-922-WMS-LGF

WESTERN REGIONAL OFF TRACK BETTING
CORPORATION, RICHARD D. BIANCHI, Individually
and in his capacity as Chairman of the WROTB Board of
Directors, and HENRY WOJTASZEK, Individually and as
President of WROTB,

                                       Defendants.


WESTERN REGIONAL OFF TRACK
BETTING CORPORATION,

                                       Third-Party Plaintiff,

     v.
STEVEN M. COHEN, ESQ.,

                                       Third-Party Defendant.


                                    SCHEDULING ORDER

               Pursuant to the Order of the Hon. William M. Skretny referring the above case to

the undersigned for pretrial procedures and the entry of a scheduling order as provided in

FED.R.CIV.P. Rule 16(b) and Local Rule 16, it is ORDERED that:


               1.      In accordance with Section 2.1A of the Plan for Alternative Dispute

Resolution, 1 this case has been referred to mediation.




 1
        A copy of the ADR Plan, a list of ADR Neutrals, and related forms and documents can
        be found at http://www.nywd.uscourts.gov or obtained from the Clerk’s Office.
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               2.      Motions to opt out of ADR shall be filed no later than February 5, 2025.


               3.      Compliance with the mandatory disclosure requirements found in Rule

26(a)(1) of the Federal Rules of Civil Procedure will be accomplished by February 13, 2025.


               4.      The parties shall confer and select a Mediator, confirm the Mediator’s

availability, ensure that the Mediator does not have a conflict with any of the parties in the case,

identify a date and time for the initial mediation session, and file a stipulation confirming their

selection on the form provided by the Court no later than February 27, 2025.


               5.      The initial mediation session shall be held no later than April 11, 2025.


               6.      All motions to join other parties and to amend the pleadings shall be filed

on or before April 18, 2025.


               7.      All fact discovery in this case shall conclude on October22, 2025. All

motions to compel fact discovery shall be filed on or before October 22, 2025.


               8.      As the ADR program does not stay discovery, Plaintiff shall initiate

discovery, through interrogatories and document requests, not later than March 11, 2025.


               9.      Plaintiff(s) shall identify any expert witnesses through interrogatories and

provide reports pursuant to FED.R.CIV.P. Rule 26 by December 19, 2025. Defendant(s) shall

identify any expert witnesses through interrogatories and provide reports pursuant to

FED.R.CIV.P. Rule 26 by January 19, 2026. Motions to compel expert disclosures shall be filed

not later than January 26, 2026.




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               10.     Dispositive motions, if any, shall be filed no later than March 26, 2026.

Such motions shall be made returnable before District Judge Skretny.


               11.     Mediation sessions may continue, in accordance with the ADR Plan, until

April 24, 2026. The continuation of mediation sessions shall not delay or defer other dates set

forth in the Scheduling Order.


               12.     In the event that no dispositive motions are filed, a final pretrial status

report shall be filed not later than May 1, 2026.


               No extension of the above cutoff dates will be granted except upon written

application to the undersigned, filed prior to the cutoff date, showing good cause for the

extension. The attached guidelines shall govern all depositions. Counsel’s attention is directed

to FED.R.CIV.P. 16(f) calling for sanctions in the event of failure to comply with any direction of

this court.


SO ORDERED.
                                               _________________________________________
                                                          LESLIE G. FOSCHIO
                                                  UNITED STATES MAGISTRATE JUDGE




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